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                         UNITED STATES DISTRICT COURT     FILED
                          WESTERN DISTRICT OF TEXAS     April 20, 2021
                             SAN ANTONIO DIVISION    CLERK, U.S. DISTRICT COURT
                                                                       WESTERN DISTRICT OF TEXAS

 UNITED STATES OF AMERICA,  §                                                         ps
                                                                    BY: ________________________________
                                                                                            DEPUTY
                            §
     Plaintiff,             §
                            §
 vs.                        §                        No. SA-19-CR-00905(1)-DAE
                            §
 CHRISTOPHER FELIX MONTOYA, §
                            §
     Defendant.             §


  ORDER GRANTING GOVERNMENT’S MOTION TO REVOKE BOND
            AND (DKT. # 75) ODER OF DETENTION

       Before the Court is the Government’s Motion to Revoke Bond (dkt no. 75) filed on March

22, 2021. A hearing was held regarding the motion on April 9, 2021. After careful consideration

of both the oral argument and evidence presented at the hearing, the Court—for the reasons stated

at the proceeding—GRANTS the Government’s Motion to Revoke Bond (dkt no. 75).

        It is hereby ORDERED that Defendant is to remain detained without bond.

       IT IS SO ORDERED.

       DATE: San Antonio, Texas, April 20, 2021.



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                                            DAVID A. EZRA
                                            SENIOR UNITED STATES DISTRICT JUDGE




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